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Case 4:09-cr-00043-SPF Document 75-5 Filed in USDC ND/OK on 06/01/09 Page 1 of 1
                                                                                               Department of the Treasury
/FAX                                                                                             Internal Revenue Service

            Confidentiality              Notice
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                                                                               I
 Postal SltIYK:e, Thank yOiI,

                                                                                  Date               Ju/t. 3, 2001

                                                                               I  Number of pages including cover Sheet                   10



  TO:                Kris Roberson                                                FROM:                 Sherry Gottschalk
                     Internal Revenue Service
                                                                                                        Ste. 226, MS 4131"
                     Mail Stop 4132
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  Fax                40&:.297-4664
                                                                                  Fax Phone             918-581-7093
  Phone




  cc:

) REMARKS:               o      Urgent            IZJ For your review             0            Reply ASAP     0      Please Comment

 Sorry it took me so long. J didn't see any notations on the checks. however, a couple of them
 are payable to "Bondage Breakers Ministries: The checks appear to be deposited to Double 0
 Investments, Inc. accounts at Boatmen's First National Bank, Tulsa, in 1996, then at First Bank
 Claremore after that.
 Good Luck!!!




    'm'd         r601.   't~    B'tE.                                                     r:6el. 'tSg 8't6            eS:Sl       leec-£e-1nr



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